Case 3:20-mj-00782-BN Document 1 Filed 07/29/20   Page 1 of 20 PageID 1




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                                                             KAREN MITCHELL
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Case 3:20-mj-00782-BN Document 1 Filed 07/29/20   Page 2 of 20 PageID 2
Case 3:20-mj-00782-BN Document 1 Filed 07/29/20   Page 3 of 20 PageID 3
Case 3:20-mj-00782-BN Document 1 Filed 07/29/20   Page 4 of 20 PageID 4
Case 3:20-mj-00782-BN Document 1 Filed 07/29/20   Page 5 of 20 PageID 5
Case 3:20-mj-00782-BN Document 1 Filed 07/29/20   Page 6 of 20 PageID 6
Case 3:20-mj-00782-BN Document 1 Filed 07/29/20   Page 7 of 20 PageID 7
Case 3:20-mj-00782-BN Document 1 Filed 07/29/20   Page 8 of 20 PageID 8
Case 3:20-mj-00782-BN Document 1 Filed 07/29/20   Page 9 of 20 PageID 9
Case 3:20-mj-00782-BN Document 1 Filed 07/29/20   Page 10 of 20 PageID 10
Case 3:20-mj-00782-BN Document 1 Filed 07/29/20   Page 11 of 20 PageID 11
Case 3:20-mj-00782-BN Document 1 Filed 07/29/20   Page 12 of 20 PageID 12
Case 3:20-mj-00782-BN Document 1 Filed 07/29/20   Page 13 of 20 PageID 13
Case 3:20-mj-00782-BN Document 1 Filed 07/29/20   Page 14 of 20 PageID 14
Case 3:20-mj-00782-BN Document 1 Filed 07/29/20   Page 15 of 20 PageID 15
Case 3:20-mj-00782-BN Document 1 Filed 07/29/20   Page 16 of 20 PageID 16
Case 3:20-mj-00782-BN Document 1 Filed 07/29/20   Page 17 of 20 PageID 17
Case 3:20-mj-00782-BN Document 1 Filed 07/29/20   Page 18 of 20 PageID 18
Case 3:20-mj-00782-BN Document 1 Filed 07/29/20   Page 19 of 20 PageID 19
Case 3:20-mj-00782-BN Document 1 Filed 07/29/20   Page 20 of 20 PageID 20




             29
